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                                                                         The Honorable James L. Robart
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 5
                                 UNITED STATES DISTRICT COURT
 6                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   JOHNNY B. DELASHAW, JR.,
                                                          CASE NO. 2:18-cv-00537-JLR
 9                                 Plaintiff,
                                                          DECLARATION OF JESSICA L.
10                  v.                                    GOLDMAN IN SUPPORT OF THE
                                                          SEATTLE TIMES’ SECOND MOTION
11                                                        FOR SUMMARY JUDGMENT
     SEATTLE TIMES COMPANY, and
12   CHARLES COBBS,                                       NOTED ON MOTION CALENDAR:
                                                          July 31, 2020
13                                 Defendants.

14

15          I, Jessica L. Goldman, hereby declare:
16          1.      I am counsel of record for Defendant Seattle Times Company in this matter. I am
17   over the age of 18 and make this declaration based on personal knowledge.
18          2.      For the Court’s reference, we have highlighted the portions of the exhibits to this
19   declaration to which we cite or reference in our Motion for Summary Judgment. Exhibits
20   designated as “Confidential” by Plaintiff Dr. Johnny Delashaw, Defendant Dr. Charles Cobbs,
21   nonparty Swedish Health Services, nonparty Dr. Rod Oskouian, and nonparty Dr. Zachary Litvack
22   are being filed under seal.
23          3.       Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the
24   testimony of Dr. Delashaw from the May 13, 2015 proceedings in re A Grievance by Professor
25   Mark Linsky, Before the Committee on Privilege & Tenure, Irvine Division. (ST_0005366). The
26   “Confidential” designation has been removed by The Seattle Times from these excerpts.

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                           SUMMIT LAW GROUP PLLC
     SUMMARY JUDGMENT - 1                                                   315 FIFTH AVENUE SOUTH, SUITE 1000
     [2:18-cv-00537-JLR]                                                     SEATTLE, WASHINGTON 98104-2682
                                                                                  Telephone: (206) 676-7000
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 1           4.      Attached hereto as Exhibit 2 is a true and correct copy of a June 29, 2013 email

 2   from Dr. Delashaw to Dave Sabey produced by Dr. Delashaw. (JDEL_008708-11). The

 3   “Confidential” designation has been removed by Dr. Delashaw.

 4           5.      Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the

 5   transcript of the March 12, 2020 deposition of Dr. Mark Mayberg.

 6           6.      Attached hereto as Exhibit 4 is a true and correct copy of an August 12, 2014 email

 7   from Andy Cosentino to Dr. Sarah Fouke and Dr. Peter Nora produced by Dr. Delashaw.

 8   (JDEL_007571-72). Dr. Delashaw designated this document as “Confidential.”

 9           7.      Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the

10   transcript of the June 1, 2020 deposition of Douglas Backous.

11           8.      Attached hereto as Exhibit 6 is a true and correct copy of excerpts of the rough

12   draft transcript of the July 1, 2020 deposition of Dr. Zachary Litvack. As that deposition was just

13   taken last week, the final transcript is not yet available.

14           9.      Attached hereto as Exhibit 7 is a true and correct copy of a March 25, 2014 email

15   from Dr. Sarah Fouke to Drs. Delashaw and Ryder Gwinn produced by Dr. Delashaw.

16   (JDEL_120711-12). The “Confidential” designation has been removed by Dr. Delashaw.

17           10.     Attached hereto as Exhibit 8 is a true and correct copy of a July 17, 2014 email

18   string from Dr. Delashaw produced by Swedish. (SWE-E_015841-42). The “Confidential”

19   designation has been removed by Swedish.

20           11.     Attached hereto as Exhibit 9 is a true and correct copy of the February 24, 2013

21   First Amendment to Physician Employment Agreement of Dr. Douglas Backous produced by

22   Swedish. (SWE-E_026079-83). Swedish designated this document as “Confidential.”

23           12.     Attached hereto as Exhibit 10 is a true and correct copy of the November 1, 2004

24   Swedish Health Services Physician Employment Agreement for Dr. Jens Chapman produced by

25   Swedish. (SWE-E_004860-4879). Swedish designated this document as “Confidential.”

26

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                           SUMMIT LAW GROUP PLLC
     SUMMARY JUDGMENT - 2                                                   315 FIFTH AVENUE SOUTH, SUITE 1000
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                                                                                     Fax: (206) 676-7001
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 1          13.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the

 2   transcript of the June 23, 2020 deposition of Dr. Stephen Monteith.

 3          14.     )

 4          15.     Attached hereto as Exhibit 13 is a true and correct copy of a February 6, 2017

 5   email from Dr. Delashaw to Matt Doig and Don Shelton of the Seattle Times, produced by Dr.

 6   Delashaw and marked as Deposition Exhibit 348. (JDEL_031327-34)

 7          16.     Attached hereto as Exhibit 14 is a true and correct copy of excerpts from the

 8   August 4, 2014 deposition of Dr. Delashaw in re Rosendahl v. Oregon Health and Sciences

 9   University, et al. produced by Dr. Delashaw. (JDEL_068937). The “Confidential” designation

10   has been removed by Dr. Delashaw.

11          17.     Attached hereto as Exhibit 15 is a true and correct copy of excerpts from the July

12   26, 2017 deposition of Mark Mayberg in re Newell v. Providence produced by Dr. David Newell.

13   (NEWELL_SDT_005711). The “AEO” designation has been removed by Dr. Newell..

14          18.     Attached hereto as Exhibit 16 is a true and correct copy of excerpts from the April

15   24, 2019 Transcript of Proceeding in re The State of Washington Dept. of Health Medical Quality

16   Assurance Commission hearing produced by Dr. Delashaw. (JDEL_000957). The “Confidential”

17   designation has been removed by Dr. Delashaw.

18          19.     Attached hereto as Exhibit 17 is a true and correct copy of excerpts from the

19   transcript of the June 19, 2020 deposition of Daniel Kelly, MD.

20          20.     Attached hereto as Exhibit 18 is a true and correct copy of a February 24, 2017

21   email from Dr. Dan Kelly to R. Horten produced by Dr. Kelly and marked as Deposition Exhibit

22   504.

23          21.     Attached hereto as Exhibit 19 is a true and correct copy of excerpts from the

24   transcript of the June 2, 2020 deposition of Peggy Hutchison, MD that Swedish has advised are

25   not confidential.

26

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                            SUMMIT LAW GROUP PLLC
     SUMMARY JUDGMENT - 3                                                   315 FIFTH AVENUE SOUTH, SUITE 1000
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                                                                                     Fax: (206) 676-7001
             Case 2:18-cv-00537-JLR Document 196 Filed 07/08/20 Page 4 of 10




 1          22.    Attached hereto as Exhibit 20 is a true and correct copy of a January 27, 2014

 2   email from R. Allen regarding the Providence and Swedish Board Members produced by Swedish.

 3   (SWE_005726-29). The “Confidential” designation has been removed by Swedish.

 4          23.    Attached hereto as Exhibit 21 is a true and correct copy of an August 5, 2014 email

 5   from Swedish CEO Tony Armada forwarding an anonymous letter produced by Swedish.

 6   (SWE_005747-50). The “Confidential” designation has been removed by Swedish.

 7          24.    Attached hereto as Exhibit 22 is a true and correct copy of excerpts of the June 5,

 8   2017 Declaration of Dr. Delashaw in re The State of Washington Medical Quality Assurance

 9   Commission produced by Dr. Delashaw. (JDEL_016999)

10          25.    Attached hereto as Exhibit 23 is a true and correct copy of a September 3, 2015

11   email from Dr. John Anderson to Andy Cosentino produced by Swedish. (SWE-E_060292)

12          26.    Attached hereto as Exhibit 24 is a true and correct copy of a July 12, 2016 email

13   from Dr. John Vassall to Dr. Delashaw produced by Dr. Delashaw. (JDEL_013164-66)

14           27.   Attached hereto as Exhibit 25 is a true and correct copy of a September 22, 2016

15   email from J. Misajet to J. Altaras produced by Dr. Delashaw. (JDEL_012911). The

16   “Confidential” designation has been removed by Dr. Delashaw.

17           28.   Attached hereto as Exhibit 26 is a true and correct copy of a February 28, 2017

18   Memorandum re Violations of Swedish Bylaws written by Dr. Delashaw’s son and produced by

19   Dr. Delashaw. (JDEL_030030)

20           29.   Attached hereto as Exhibit 27 is a true and correct copy of an October 24, 2016

21   email from Dr. Oskouian to Shane Tubbs and Glen Davis produced by Dr. Cobbs.

22   (COBBS00000236)

23          30.    Attached hereto as Exhibit 28 is a true and correct copy of an October 28, 2016

24   email from Andy Cosentino produced by Swedish. (SWE-E_060531)

25           31.   Attached hereto as Exhibit 29 is a true and correct copy of an October 28, 2016

26   email to Dr. David Newell produced by Dr. Newell. (NEWELL_SDT_000110)

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                         SUMMIT LAW GROUP PLLC
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                                                                                   Fax: (206) 676-7001
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 1           32.   Attached hereto as Exhibit 30 is a true and correct copy of an October 31, 2016

 2   email from Dr. Jens Chapman produced by Dr. Cobbs. (COBBS00000292)

 3           33.   Attached hereto as Exhibit 31 is a true and correct copy of an October 30, 3016

 4   email from Dr. Rod Oskouian to Dr. Ryder Gwinn produced by Swedish. (SWE-E_061049). The

 5   “Confidential” designation has been removed by Swedish.

 6           34.   Attached hereto as Exhibit 32 is a true and correct copy of an October 30, 3016

 7   email from Dr. Tubbs to Dr. Oskouian produced by Swedish. (SWE-E_061264)

 8           35.   Attached hereto as Exhibit 33 is a true and correct copy of a November 3, 2016

 9   email from Dr. Ryder Gwinn to Dr. Guy Hudson produced by Swedish. (SWE-E_060552)

10           36.   Attached hereto as Exhibit 34 is a true and correct copy of a November 1, 2016

11   email from Dr. Charles Cobbs to Dr. Ed Laws produced by Dr. Cobbs. (COBBS00000351)

12           37.   Attached hereto as Exhibit 35 is a true and correct copy of excerpts from the

13   transcript of the June 5, 2020 deposition of Edward Laws, JR., MD, FACS.

14           38.   Attached hereto as Exhibit 36 is a true and correct copy of an October 29, 2016

15   email from Dr. Charles Cobbs produced by Dr. Cobbs. (COBBS00000247)

16           39.   Attached hereto as Exhibit 37 is a true and correct copy of a November 2, 2016

17   email from Dr. Charles Cobbs to Dr. Luba Foltz produced by Dr. Cobbs. (COBBS00000553)

18           40.   Attached hereto as Exhibit 38 is a true and correct copy of a November 19, 2016

19   email that Dr. Cobbs has designed as “Confidential.” (COBBS00000903)

20           41.   Attached hereto as Exhibit 39 is a true and correct copy of a November 4, 2016

21   email from Dr. Charles Cobbs to Tony Armada produced by Swedish. (SWE-E_060572). The

22   “Confidential” designation has been removed by Swedish.

23           42.   Attached hereto as Exhibit 40 is a true and correct copy of a January 4, 2017 email

24   from Dr. Delashaw to Andy Cosentino produced by Dr. Delashaw. (JDEL_013212)

25

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     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                        SUMMIT LAW GROUP PLLC
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                                                                                  Fax: (206) 676-7001
             Case 2:18-cv-00537-JLR Document 196 Filed 07/08/20 Page 6 of 10




 1           43.   Attached hereto as Exhibit 41 is a true and correct copy of a November 8, 2016

 2   email from Dr. Ralph Pascualy to Dr. Rod Hochman produced by Swedish. (SWE-E_060532).

 3   The “Confidential” designation has been removed by Swedish.

 4           44.   Attached hereto as Exhibit 42 is a true and correct copy of a March 6, 2017 email

 5   from Michele Matassa Flores to Mike Baker. (ST_0030654)

 6           45.   Attached hereto as Exhibit 43 is a true and correct copy of a November 28, 2016

 7   email from Dr. Delashaw to B. Bartlett produced by Swedish. (SWE-E_017976). The

 8   “Confidential” designation has been removed by Swedish.

 9           46.   Attached hereto as Exhibit 44 is a true and correct copy of a November 22, 2016

10   email from Tony Armada to Teresa Bigelow produced by Swedish. (SWE-E_059633) Swedish

11   has designated this document as “Confidential.”

12           47.   Attached hereto as Exhibit 45 is a true and correct copy of a November 22, 2016

13   email from Teresa Bigelow to Tony Armada and Dr. Hochman produced by Swedish. (SWE-

14   E_061074). The “Confidential” designation has been removed by Swedish.

15           48.   Attached hereto as Exhibit 46 is a true and correct copy of a November 22, 2016

16   email from Dr. Newell to Dr. J. Eskridge produced by Dr. Delashaw.

17           49.   Attached hereto as Exhibit 47 is a true and correct copy of a November 22, 2016

18   email from Dr. Newell to C. Morrison produced by Dr. Newell. (NEWELL_SDT_003457)

19           50.   Attached hereto as Exhibit 48 is a true and correct copy of a November 22, 2016

20   email from Dr. Newell to G. Britz produced by Dr. Newell. (NEWELL_SDT_003497)

21           51.   Attached hereto as Exhibit 49 is a true and correct copy of a November 22, 2016

22   email from Dr. Newell to Dr. K. Burchiel produced by Dr. Newell. (NEWELL_SDT_003537)

23           52.   Attached hereto as Exhibit 50 is a true and correct copy of a November 23, 2016

24   email from Dr. HR Winn to Dr. Newell produced by Dr. Newell. (NEWELL_SDT_003671)

25           53.   Attached hereto as Exhibit 51 is a true and correct copy of a November 23, 2016

26   email from Dr. Newell to Dr. R. Wohns produced by Dr. Newell. (NEWELL_SDT_003679)

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                        SUMMIT LAW GROUP PLLC
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     [2:18-cv-00537-JLR]                                                   SEATTLE, WASHINGTON 98104-2682
                                                                                Telephone: (206) 676-7000
                                                                                   Fax: (206) 676-7001
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 1          54.    Attached hereto as Exhibit 52 is a true and correct copy of a November 30, 2016

 2   email from Dr. Newell to C. Veal produced by Dr. Newell. (NEWELL_SDT_003729)

 3          55.    Attached hereto as Exhibit 53 is a true and correct copy of a December 1, 2016

 4   email from Dr. Newell to Bryans produced by Dr. Newell. (NEWELL_SDT_003769)

 5          56.    Attached hereto as Exhibit 54 is a true and correct copy of a December 2, 2016

 6   email from Dr. Newell to J. Gottlieb produced by Dr. Newell. (NEWELL_SDT_003809)

 7          57.    Attached hereto as Exhibit 55 is a true and correct copy of a December 7, 2016

 8   email from Dr. Newell to W. Kerpa produced by Dr. Newell. (NEWELL_SDT_003854)

 9          58.    Attached hereto as Exhibit 56 is a true and correct copy of a January 7, 2017 email

10   from Dr. Jaffee to Dr. Newell produced by Dr. Newell. (NEWELL_SDT_003957)

11          59.    Attached hereto as Exhibit 57 is a true and correct copy of a November 26, 2016

12   email from Dr. Oskouian to S. Tubbs and A. Takasumi produced by Dr. Oskouian that Dr.

13   Oskouian has designated as “Confidential.” (OSK000414)

14          60.    Attached hereto as Exhibit 58 is a true and correct copy of a November 24, 2016

15   email from Dr. Oskouian to S. Tubbs and A. Takasumi produced by Dr. Oskouian that Dr.

16   Oskouian has designated as “Confidential.” (OSK000495)

17          61.    Attached hereto as Exhibit 59 is a true and correct copy of a November 23, 2016

18   email from Dr. Newell to M. Olson and E. Latocki produced by Dr. Cobbs. (COBBS00000948)

19          62.    Attached hereto as Exhibit 60 is a true and correct copy of a November 23, 2016

20   email from Dr. Charles Cobbs to M. Smith produced by Dr. Cobbs. (COBBS00001385)

21          63.    Attached hereto as Exhibit 61 is a true and correct copy of a February 11, 2017

22   email from Dr. Charles Cobbs to H. Kaplan produced by Dr. Cobbs. (COBBS00001662)

23          64.    Attached hereto as Exhibit 62 is a true and correct copy of a November 29, 2016

24   email from Dr. Delashaw produced by Swedish. (SWE-E_017862). Swedish has designed this

25   document as “Confidential.”

26

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                        SUMMIT LAW GROUP PLLC
     SUMMARY JUDGMENT - 7                                                315 FIFTH AVENUE SOUTH, SUITE 1000
     [2:18-cv-00537-JLR]                                                  SEATTLE, WASHINGTON 98104-2682
                                                                               Telephone: (206) 676-7000
                                                                                  Fax: (206) 676-7001
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 1          65.    Attached hereto as Exhibit 63 is a true and correct copy of a November 23, 2016

 2   email from Dave Sabey to Dr. Delashaw produced by Dr. Delashaw. (JDEL_015458) Dr.

 3   Delashaw has removed the “private” designation.

 4          66.    Attached hereto as Exhibit 64 is a true and correct copy of excerpts of text

 5   messages between Dr. Charles Cobbs and Drs. Santosh Kesari and Daniel Kelly produced by Dr.

 6   Cobbs. (COBBS00009865)

 7          67.    Attached hereto as Exhibit 65 is a true and correct copy of excerpts from the

 8   transcript of the June 10, 2010 deposition of Cameron McDougall, MD.

 9          68.    Attached hereto as Exhibit 66 is a true and correct copy of a November 22, 2016

10   letter to Naran Balasubramnin and Michele See produced by Swedish. (SWE_005764) Swedish

11   has designated this document as “Confidential.”

12          69.    Attached hereto as Exhibit 67 is a true and correct copy of a November 28, 2016

13   Memo for Board of St. Joseph of Providence and the Board of Swedish Health Services and the

14   Swedish Medical Staff and Community at Large. (ST_0010923)

15          70.    Attached hereto as Exhibit 68 is a true and correct copy of a December 5, 2016

16   email from J. Vogelsang forwarding November 28, 2016, Memo for Board of St. Joseph of

17   Providence and the Board of Swedish Health Services and the Swedish Medical Staff and

18   Community at Large re Financial and Leadership Crisis produced by Swedish. (SWE-E_060705).

19   The “Confidential” designation has been removed by Swedish.

20          71.    Attached hereto as Exhibit 69 is a true and correct copy of a November 29, 2016

21   Letter to Dr. Delashaw from Dr. Hutchison produced by Dr. Zachary Litvack. (LIT_000518).

22   Swedish has designated this document as “Confidential.”

23          72.    Attached hereto as Exhibit 70 is a true and correct copy of excerpts from the

24   transcript of the November 3, 2017 deposition of Margaret Louise Hutchison, MD in re State of

25   Washington Depts. Of Health Medical Quality Assurance Commission that Swedish has

26   designated as “Confidential.” (JDEL_057155)

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                         SUMMIT LAW GROUP PLLC
     SUMMARY JUDGMENT - 8                                                 315 FIFTH AVENUE SOUTH, SUITE 1000
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 1          73.    Attached hereto as Exhibit 71 is a true and correct copy of a November 29, 2016

 2   email from B. Bartlett to Dr. Delashaw produced by Swedish. (SWE-E_059865)

 3          74.    Attached hereto as Exhibit 72 is a true and correct copy of text messages from the

 4   phone of Dr. Zachary Litvack from November 29, 2016. (LIT_000234). The “Confidential”

 5   designation has been removed by Swedish.

 6          75.    Attached hereto as Exhibit 73 is a true and correct copy of text messages from Dr.

 7   Delashaw on December 10, 2016 produced by Andy Cosentino. (COS_000047). The

 8   “Confidential” designations have been removed by Swedish.

 9          76.    Attached hereto as Exhibit 74 is a true and correct copy of text messages from Dr..

10   Delashaw on December 3-10, 2016, previously marked as Deposition Exhibit 383.

11   (MCD_000108-109). Swedish has designated the documents as “Confidential.”

12          77.    Attached hereto as Exhibit 75 is a true and correct copy of a text message from Dr.

13   Guy Hudson to J. Altaras and T. Armada produced by Dr. Hudson. (HUD_000390) The

14   “Confidential” designation has been removed by Swedish.

15          78.    Attached hereto as Exhibit 76 is a true and correct copy of a December 20, 2016

16   letter from Tony Armada to Dr. Delashaw produced by Dr. Delashaw. (JDEL_027310). The

17   “Confidential” designation has been removed by Dr. Delashaw.

18          79.    Attached hereto as Exhibit 77 is a true and correct copy of a December 22, 2016

19   email string between Dr.. Delashaw and D. Sabey produced by Swedish. (SWE-E_06009)

20          80.    Attached hereto as Exhibit 78 is a true and correct copy of a November 2016 text

21   message of Dr. C. Cobbs to Dr. R. Gwinn previously marked as Deposition Exhibit 249.

22          81.    Attached hereto as Exhibit 79 is a true and correct copy of a December 30, 2016

23   email from Mike Baker to M. Doig and F. Nelson. (ST_0011572)

24          82.    Attached hereto as Exhibit 80 is a true and correct copy of email communications

25   between M. Weinand and J. Schippers. (WNS 000014-61)

26

     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                        SUMMIT LAW GROUP PLLC
     SUMMARY JUDGMENT - 9                                                315 FIFTH AVENUE SOUTH, SUITE 1000
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                                                                                  Fax: (206) 676-7001
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 1          83.     Attached hereto as Exhibit 81 is a true and correct copy excerpts from the June 1,

 2   2020 deposition of Douglas Backous, MD. These excerpts have been designated by Swedish as

 3   “Confidential.”

 4          84.     Attached hereto as Exhibit 82 is a true and correct copy of excerpts from the rough

 5   draft of the July 1, 2020 deposition of Zachary Litvack. These have been designated by Swedish

 6   as “Confidential.”

 7          85.     Attached hereto as Exhibit 83 is a true and correct copy of excerpts from the

 8   November 3, 2017 deposition of Margaret Louse Hutchison in re State of Washington v. Dept of

 9   Health, Medical Quality Assurance Commission. These have been designated by Swedish as

10   “Confidential.” (JDEL-057156)

11          86.     Attached hereto as Exhibit 84 is a true and correct copy of excerpts from the

12   transcript of the June 2, 2020 deposition of Peggy Hutchison, MD. These have been designated

13   by Swedish as “Confidential.”

14          87.     Attached hereto as Exhibit 85 is a true and correct copy of an August 10, 2015

15   email from Andy Cosentino to Tony Armada produced by Swedish. (SWE-E-_060158). This has

16   been designated as “Confidential” by Swedish.

17          I declare under penalty of perjury under the laws of the State of Washington that the

18   foregoing is true and correct.

19          EXECUTED in Seattle, Washington this 8th day of July, 2020.

20
                                                      /s Jessica L. Goldman
21                                                    Jessica L. Goldman, WSBA No. 21856
22

23

24

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     GOLDMAN DECL ISO SEATTLE TIMES’ MOTION FOR                         SUMMIT LAW GROUP PLLC
     SUMMARY JUDGMENT - 10                                                315 FIFTH AVENUE SOUTH, SUITE 1000
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